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UNITED STATES DISTRICT COURTF IL ED

 

 

NORTHERN DISTRICT OF ILLINOTS, GBEFTREVOARVISION
UNITED STATES OF AMERICA MAGISTRATE JUDGE ARLANDER KEYS
Vv. UNITED STATES pistRict COURT
I OMG AINT
NICHOLAS ALEXANDER | | 00 a>
| CASE NUM :
MAGISTRATE JUDGE KEYS

I, the undersigned complainant being duly sworn state the following is true and correct

to the best of my knowledge and belief. On or about_October 26, 2000 in Cook County, in the

 

Northern Bistrict of Tilinois defendant did,

by force and violence, and by intimidation, did take from the person and presence of a teller
at the 157 Equity Bank, 3956 W. Dempster, Skokie, Illinois, money belonging to and in the
care, custody, control, management and possession of the 1** Equity Bank, the deposits of
which were then insured by the Federal Deposit Insurance Corporation,

in violation of Title 18 United States Code, Section 2113 (a}

I further state that Ir am a Special Agent with the Federal Bureau of Investigation and that

 

this complaint is based on the following facts:

See attached affidavit.

YH

Continued on the attached sheet and made a part hereof: x Yes No [> Men
: 3, 0

=n 20
Llib Manel

Signature of Complainant

Gabriel Manuel, Special Agent FBI

Sworn to before me and subscribed in my presence,

October 26, 2000 Chicago, Illinois
Date City, State

ARLANDER _KEVS U.S. Magistrate Judge
Name & Title of Judicial Officer

 

 
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VY | Cy
STATE OF ILLINOIS )
) ss
_ COUNTY OF COOK - )

I, GABRIEL MANUEL, being duly sworn, depose and state:

1.ITam a Special Agent with the Federal Bureau of Investigation (FBI). I have been an
FBI Special Agent for approximately 18 years. I am assi gned to the Violent Crimes Squad —
Rolling Meadows of the Chicago Field Division of the FBI, which investigates violent crimes,
including robberies of financial institutions. |

2. I make this affidavit based upon personal knowledge and experience and upon
conversations with and communications from others, including other law enforcement officers,
who have personal Knowledge of the events and circumstances described herein.

3. On October 26, 2000, the 1st Equity Bank located at 3956 W. Dempster St., Skokie,
Illinois, was robbed by a single robber, who has been identified as Nicholas Alexander. At
approximately 10:00 a.m., Alexander approached a teller window and passed the teller a bank
robbery demand note. The note read, “I have a gun and a police scanner. No alarms. No die
packets.” Alexander also told the teller to give him “large bills.” She offered him four $100
bills, but he demanded the rest of the money in her drawer.

4. In response to Alexander’s threat, the teller removed approximately $2,670 from her
drawer and gave it to Alexander. Alexander then fled the bank. Witnesses then provided the
police with a description of the bank robber and told the police that he drove a maroon Honda
Accord away from the bank.

5. Later that day, Morton Grove police stopped Alexander as he was driving a maroon

Honda Accord because he matched the physical description of the robber and was driving a
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similar car.

6. Alexander was arrested and taken to the Skokie police station. He was found to have
$670 on his person and $2000 in his car. He was also found to have the demand note.

7. The victim teller was subsequently brought to the scene of the arrest, where she
identified Alexander as the robber, |

8. On October 26, 2000, FBI Special Agents subsequently advised Alexander of his

Miranda rights. After taking Alexander into custody, agents with the Federal Bureau of

 

Investigation advised Alexander of his Miranda rights and asked him to sign a written waiver of
rights. Alexander signed the waiver of tights form and confessed to having committed the bank
robbery at the 1st Equity Bank on October 26, 2000 and to another bank robbery First National
Bank in Morton Grove on October 17, 2000.

9. On October 26, 2000, the date of the robbery, the deposits of the Ist Equity Bank, 3956
W. Dempster Street, Skokie, Illinois were insured by the Federal Deposit Insurance Corporation.

10. This affidavit is being submitted for the limited purpose of establishing probable
cause. I have set forth only those facts I believe are necessary to establish probable cause in this
matter. This is not a complete statement of all I know about Nicholas Alexander or the events

described in this affidavit.

FURTHER AFFIANT SAYETH NOT.

GABRIEL MANUEL
FBI Special Agent
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Case: 1:00-cr-00873 Document #: 1 Filed:-16/26/66-Page-4+-e=4-Regei.
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SUBSCRIBED and SWORN TO before me this
26" day of October 2000

Otrds, QL

ARLANDER KEY
UNITED STATES MRAGISTRAXE JUDGE
Chicago, Illinois
